                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE

UNITED STATES OF AMERICA,                         )
                                                  )
                      Plaintiff,                  )
                                                  )
v.                                                )          No. 3:10-CR-159
                                                  )
KEVIN TRENT BUSSELL, et. al.,                     )          (VARLAN/SHIRLEY)
                                                  )
                      Defendants.                 )


                            REPORT AND RECOMMENDATION

               All pretrial motions in this case have been referred to the undersigned pursuant to 28

U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the District

Court as may be appropriate. This case is before the Court on Defendant Leonard Bussell’s Motion

to Suppress All Intercepted Communications Wherein Leonard Bussell Is a Participant in the

Communication [Doc. 171]1 and memorandum in support [Doc. 173, Part IV], both filed on March

11, 2011, adopted by Defendant Kevin Trent Bussell and Defendant Geneva Bussell [Doc. 343]. On

April 12, 2011, the Government responded [Doc. 223] in opposition to this motion and to Defendant

Leonard Bussell’s Motion to Suppress Evidence Seized from 445 Moody Hill Road [Doc. 172], the

recommendation as to disposition of which will appear in a separate report and recommendation.

The parties appeared before the undersigned for a motion hearing on May 13, 2011. Assistant



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        The Court notes that Defendant Leonard Bussell died on October 6, 2011 [Ex. 1 to Doc.
346]. Counsel for Defendant Leonard Bussell filed a Motion to Dismiss by Reason of
Abatement on October 24, 2011 [Doc. 345]. While the instant motion is no longer relevant to
Defendant Leonard Bussell’s case, the findings of the Court in this Report and Recommendation
shall apply to Defendants Kevin Trent Bussell and Geneva Bussell’s adoption [Doc. 343] of
Defendant Leonard Bussell’s Motion to Suppress All Intercepted Communications Wherein
Leonard Bussell Is a Participant in the Communication [Doc. 171].


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United States Attorney Alexandra Hui appeared on behalf of the Government. The following

defense counsel were present, along with their clients: Attorney John E. Eldridge, representing

Defendant Kevin Trent Bussell, Attorney G. Scott Green, representing Defendant Leonard King

Bussell, Attorney Tommy K. Hindman, representing Defendant Geneva Bussell, Attorney Russell

T. Greene, representing Defendant Jackie Mize, Attorney Jonathan D. Cooper, representing

Defendant Nicole Seal, and Attorney Robert R. Kurtz, representing Defendant Jessica Wilson.

Attorney Mike Whalen represented Defendant Randy Williams,2 and Attorney Gerald L. Gulley, Jr.,

represented Defendant Althea Gamble, who were not present. After hearing the arguments of the

parties, the Court took the motions under advisement.



                              I. POSITIONS OF THE PARTIES

               The Defendants are charged in varying counts of a seven-count Indictment [Doc. 3]

with conspiracy to distribute controlled substances, firearms offenses, and money laundering. In

their motion to suppress, the Defendants argue that the applications for the Title III wiretaps, the

product of which served as the basis for the support of the search of 445 Moody Hill Road, were

insufficient to support the orders authorizing the wiretaps. Specifically, the Defendants argue that

the agents investigating their case were employing traditional investigative techniques (confidential

informants, controlled purchases, recorded telephone calls, video and audio recordings from within

Defendant Kevin Trent Bussell’s Tennessee and Florida residences) prior to and at the time of the

wiretap applications and that those techniques were and would have continued to be successful. The



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        Defendant Randy Williams withdrew all of his pending motions at the start of the May
13, 2011 motion hearing.

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Defendants further suggest that the conspiracy exceeded a membership of seventy persons and that

law enforcement could have performed surveillance on those individuals, and could have obtained

pharmaceutical records as part of its investigation. The Defendants suggest that the case against

them at the time of the first wiretap application was already overwhelming and that a wiretap was

unnecessary. Accordingly, the Defendants argue that their voices, identified pursuant to the

wiretaps, should be suppressed and should not have been used as a basis for probable cause to search

their residences. At the May 13, 2011 hearing, the Defendants also requested an evidentiary hearing

to enable the Court to hear and consider the testimony of the affiant in determining whether the

applications met the necessity requirement of 18 U.S.C. § 2518(1)(c).

               The Government responds that the Defendants’ motion to suppress should be denied

because the affidavits utilized as the wiretap applications in this case gave “a full and complete

statement” as required by 18 U.S.C. § 2518(1)(c), by discussing the information the agents

anticipated obtaining from the proposed intercepted communications, listing and explaining the

investigative techniques (physical surveillance, grand jury subpoenas, interviews, search warrants,

infiltration by undercover officers, cooperating individuals, controlled purchases, a financial

investigation, review of telephone records, and discarded trash examination) the agents had either

considered or attempted and explaining why each was inadequate, and specifying why each of the

techniques would fail in the investigation of this particular case. The Government argues that the

Defendants’ contention that the wiretaps were unnecessary is based on their “subjective evaluation

of the investigation” and that the wiretaps were needed to uncover the full scope of the conspiracy

in this case. With regard to the Defendants’ request for an evidentiary hearing on this matter, the

Government responded that the Court should only consider the contents of the four corners of the


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affidavits in determining necessity and should not consider additional information which was not

before the district judge when he made his determinations.



                                       II. BACKGROUND

               The Defendants’ motion centers on the two applications for authorization to intercept

telephone conversations submitted by Special Agent Bethel Poston of the Drug Enforcement

Administration (“DEA”) on October 20, 2010 and November 5, 2010, respectively. Special Agent

Poston’s October 20, 2010 application pertained to Defendant Kevin Trent Bussell’s landline

telephone, (423) 626-8634, and included an affidavit of Agent Poston. The Honorable Thomas W.

Phillips, United States District Judge, signed an order authorizing the wiretap requested by that

application. The interception of the landline telephone began on October 21, 2010. On November

5, 2010, Agent Poston applied for authorization to intercept Defendant Kevin Trent Bussell’s cellular

telephone, (423) 489-7025, and he provided another affidavit in support of his request at that time.

District Judge Phillips again authorized this wiretap, and the interception of the cellular telephone

began on November 8, 2010. Both of Agent Poston’s affidavits submitted as applications for

wiretaps in this case remain under seal [Doc. 327] at this time. Following several weeks of

telephone call interception, the agents in this case utilized the information obtained from the calls

to apply for several search warrants, the results of which are the subject of other suppression motions

[Doc. 172, Doc. 179, Doc. 195, Doc. 204, Doc. 205, Doc. 206, Doc. 207, and Doc. 209], to be

addressed by report and recommendation separately in this case.




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                                   First Affidavit of Agent Poston

               The 48-page affidavit [Sealed Exhibit 1 to Legal Argument of May 13, 2011; Doc.

327] in support of the applications for an order authorizing the interception of wire communications,

filed on October 20, 2010, describes the information expected to be obtained from intercepting

communications from Defendant Kevin Trent Bussell’s landline home telephone, including “the

identities and roles of accomplices, coconspirators, and other participants,” “the existence and

location of drug records and drug proceeds,” the resources utilized to finance the illegal activities

investigated, the full nature and extent of the drug operation, and other information. [October 20,

2010 affidavit of Agent Bethel Poston, ¶ 9]. The affidavit states that “[n]ormal investigative

procedures have been employed and have either been marginally successful or have failed, are

reasonably unlikely to succeed if attempted, or are too dangerous to employ[.]” [¶ 10]. The affidavit

goes on to describe the involvement and utilization of two confidential sources with knowledge of

the drug trade and connections to the conspiracy, including consensually recorded telephone calls

in the presence of Agent Poston, video and audio recorded controlled purchases, a traffic stop made

based on information provided by a confidential informant, audio and video recordings around

Defendant Kevin Trent Bussell’s Florida residence, and lists of co-conspirators provided by the

informants. Next, the affidavit details the investigative findings resulting from toll record and pen

register analysis of the target telephone.

               As to the need for interception, the affidavit states that Agent Poston believed that

the wiretap was the “best and only available technique that ha[d] a reasonable likelihood of

accomplishing the goals” of the investigation, “and of securing the evidence necessary to prove

beyond a reasonable doubt that the interceptees and subjects, and others yet unknown, are engaged


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in the above-described offenses.” [¶ 34]. The affidavit further indicates that intercepting wire

communications would have likely been the only way to discover and identify members of the

conspiracy yet to be known to or confirmed by Agent Poston, and the affidavit describes in detail

why pen registers have been unsuccessful in this regard, specifying the reasons why a wiretap would

likely allow Agent Poston to succeed. The affidavit additionally explains that a wiretap is necessary

to obtain more detailed information about the full scope of the conspiracy because arresting only

some members of the conspiracy without sufficient evidence to successfully prosecute all involved

would not halt the Bussell organization’s operations. The affiant indicated that he believed the

wiretaps sought would produce sufficient probable cause to apply for search warrants of properties

related the conspiracy, and the affidavit described what would likely be sought at those properties.

               The October 20, 2010 affidavit next describes the alternative investigative techniques

utilized or considered, and the reasons why each was insufficient. As to physical surveillance, the

affidavit contends that while it had been conducted or attempted during the investigation up to that

point, it was “extremely difficult and potentially dangerous” in this case because many members of

the conspiracy “live in a very rural, secluded, close-knit area of upper-east Tennessee.” [¶ 49]. As

a result, “[o]utsiders and unfamiliar vehicles are very quickly observed.” [¶ 49]. The affidavit

describes that the property, on which many of the conspiracy members reside, has only one entrance

and exit, furthering the likelihood that the subjects would easily notice those investigating them and

potentially attempt to flee. In addition to describing its lack of success, the affidavit explains why

physical surveillance is unlikely to produce the evidence sought to further the investigation.

Moreover, Agent Poston indicated in the affidavit that he had information to believe both that the

conspirators may be armed and that Defendant Kevin Trent Bussell utilized “lookouts,” and the


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affidavit describes specific incidents supporting the assertion that the members of the organization

were extremely careful in their operations.

               In discussing other alternative traditional investigative techniques, the affidavit details

why both grand jury subpoenas and interviews of associates would not produce sufficient

information “concerning the identities of all of the persons involved in the conspiracy, the source

of the drugs, financing, the location of records, drugs, or other pertinent information regarding the

subject crimes.” [¶ 57]. Additionally, the affidavit discusses search warrants, infiltration by

undercover officers, cooperating witnesses, controlled drug purchases by undercover officers or

cooperating individuals, examination of discarded trash, the possibility of a financial investigation,

and the use of pen registers and toll analysis. For each of those techniques, the affidavit discusses

whether or not they had been utilized at that point, and why they were not sufficient ways of

obtaining the desired information, at times using specific examples from prior drug trafficking

investigations in which Agent Poston was involved. The downside of many of the considered but

not yet utilized techniques involves Agent Poston’s belief, based on prior training and experience,

that members of the organization would be alerted to the investigation and react accordingly (fleeing,

hiding, and/or destroying contraband or assets not yet identified by law enforcement).

               As to possible infiltration of the organization by undercover officers, the affidavit

points out that the conspiracy is made up almost entirely of family members related by blood or

marriage, with the other members being long-time associates of Defendant Kevin Trent Bussell. The

affidavit describes that the members of the organization “are extremely suspicious of newly

developed associates, and it would take an extraordinary amount of time to develop even an entry

level relationship.” [¶ 62]. Moreover, the affidavit explains that the area of Tennessee in which the


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members of the organization live has specific customs, which a potential infiltrator would not

understand, making this technique especially dangerous in this case. The affidavit additionally

provides specific ways in which Defendant Kevin Trent Bussell’s paranoia and watchfulness related

to his associates would make the infiltration of an undercover agent into the organization

exceedingly difficult.

                In regard to the cooperating witnesses, the affidavit states that they have provided

reliable information and have agreed to testify at trial, but that each of the current cooperating

individual’s roles in the organization is too limited to obtain the full breadth of information sought

by the investigation and that law enforcement was unable to develop additional cooperating

individuals at that time. Additionally, the affidavit asserts that the rural and secluded location of the

residences utilized by the conspirators make the possible examination of discarded trash difficult

to do without attracting the attention of the subjects. The affidavit describes that instituting a

financial investigation would likely alert the suspects to the investigation of them, given the close-

knit community in which they live. Further, Agent Poston indicated that he believed that Defendant

Kevin Trent Bussell hid his drug proceeds in “old-fashioned” ways such as “burying cash on his

property,” rendering a traditional financial investigation largely obsolete in the instant case [¶ 75].



                                  Second Affidavit of Agent Poston

                The 53-page affidavit [Sealed Exhibit 2 to Legal Argument of May 13, 2011; Doc.

327], filed on November 5, 2010, served as an application to intercept Defendant Kevin Trent

Bussell’s cellular telephone, (423) 489-7025. The November 5 affidavit attached and incorporated

the October 20 affidavit as an exhibit and asserted that the interception of Defendant Kevin Trent


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Bussell’s landline telephone began on October 21, 2010 and was continuing at that time. The

November 5 affidavit includes more target suspects than the October 20 affidavit did. This affidavit

provides much of the same background information on the conspiracy’s operation as the previous

affidavit, and the November 5 affidavit provides some examples of conversations relating to drug

trafficking, which had intercepted from Defendant Kevin Trent Bussell’s home telephone since

October 21, 2010. The affidavit discusses the renewed pen register authorization and the telephone

numbers monitored by it.

                As to the need for the interception, the November 5 affidavit states largely the same

needs as the October 20 one, with some assertions that the intercepted telephone calls from the home

telephone have not revealed some of sources and information sought by the agents. The November

5 affidavit also lists the names and telephone numbers of pain clinics and pharmacies in southern

Florida, which telephone toll analysis had shown Defendant Kevin Trent Bussell to have contacted

from his cellular telephone. New information from confidential sources indicating that Defendant

Kevin Trent Bussell had conversations with co-conspirators about their illicit activities on the target

cellular telephone is also included in the affidavit to show the need for the wiretap. This affidavit

again asserts that sources and others with connections to the illicit activities of the conspiracy would

be revealed if the wiretap was authorized.

                The discussion as to alternative investigative techniques in the November 5 affidavit

is largely the same as the discussion in the October 20 affidavit, discussing each traditional technique

and explaining why it would be specifically unsuccessful in this particular investigation. As to

cooperating individuals, the November 5 affidavit indicates that one of law enforcement’s

cooperating witnesses was no longer being utilized by the investigation because of a return to


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participation in the conspiracy and that the other continued to play only a limited role in the drug

trafficking organization, limiting that person’s access to some of the information sought by the

investigation.



                                                III. ANALYSIS

                  A magistrate judge’s finding of probable cause to issue a search warrant is entitled

to “great deference” unless the finding is arbitrary. United States v. Leake, 998 F.2d 1359, 1362-63

(6th Cir. 1993). In this respect, “the traditional standard for review of an issuing magistrate’s

probable-cause determination has been that so long as the magistrate had a ‘substantial basis for .

. . conclud[ing]’ that a search would uncover evidence of wrongdoing, the Fourth Amendment

requires no more.” Illinois v. Gates, 462 U.S. 213, 236 (1983) (quoting Jones v. United States, 362

U.S. 257, 271 (1960)). The Sixth Circuit has applied this standard to orders authorizing auditory

surveillance as well as to more traditional search warrants:

                  Since the issuing judge is in the best position to determine all of the
                  circumstances in the light in which they may appear at the time, ‘great
                  deference’ is normally paid to the determination of an issuing judge.
                  . . . . [T]he fact that a later trial judge or reviewing court may feel that
                  a different conclusion was appropriate does not require, nor even
                  authorize, the suppression of evidence gained through such a warrant.
                  In United States v. Lambert, 771 F.2d 83, 93 (6th Cir.), cert. denied,
                  474 U.S. 1034, 106 S. Ct. 598, 88 L. Ed. 2d 577 (1985), we held that
                  a magistrate’s determination on the question of probable cause will
                  not be reversed if the record contains a “substantial basis for his
                  probable cause findings.”

United States v. Alfano, 838 F.2d 158, 162 (6th Cir. 1998), cert. denied, 488 U.S. 910 (1988).3


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          The Court notes that unlike in a traditional search warrant, where the Court would typically review a
magistrate judge’s finding of probable cause, in this type of case, this Court, a magistrate judge, is reviewing the
findings of the issuing judge (herein a District Court judge). See 18 U.S.C. § 2518(1) (requiring that the government

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                  “The basic standards for a wiretap are similar to those for a search warrant, but there

must also be strict compliance with Title III of the Omnibus Crime Control and Safe Streets Act of

1968, 18 U.S.C. §§ 2510-2520.” Alfano, 838 F.2d at 161. Title 18 U.S.C. § 2518, governing the

procedure for interception of a wire, oral, or electronic communication, requires that each application

“be made in writing upon oath or affirmation to a judge of competent jurisdiction and shall state the

applicant’s authority to make such application.” 18 U.S.C. § 2518(1) (1998). In relevance to this

case, 18 U.S.C. § 2518(1) requires that each application include:

                  (a) the identity of the investigative or law enforcement officer making
                  the application, and the officer authorizing the application;

                  (b) a full and complete statement of the facts and circumstances relied
                  upon by the applicant, to justify his belief that an order should be
                  issued . . . ;

                  (c) a full and complete statement as to whether or not other
                  investigative procedures have been tried and failed or why they
                  reasonably appear to be unlikely to succeed if tried or to be too
                  dangerous;
                  ....

                  The issuance of a wiretap requires “no specific formula,” and the “evidence must be

judged on the totality of the circumstances[.]” Alfano, 838 F.2d at 161 (citation omitted). Wiretaps

should never be utilized as the first step in a criminal investigation. United States v. Giordano, 416

U.S. 505, 515 (1974). Accordingly, the necessity requirement of § 2518(1)(c) is “simply designed

to assure that wiretapping is not resorted to in situations where traditional investigative techniques

would suffice to expose the crime.” United States v. Kahn, 415 U.S. 143, 153 n.12 (1974). Thus,

an application satisfies § 2518(1)(c) if it serves to inform the court to which it is made “of the



apply for electronic interception to a “judge of competent jurisdiction”). Nonetheless, the Court believes the
standard of review to be the same.

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reasons for the investigators’ belief that non-wiretap techniques have been or will likely be

inadequate.” United States v. Lambert, 771 F.2d 83, 91 (6th Cir. 1985). The government is not

required to prove in an application that “every other conceivable method [of investigation] has been

tried and failed or that all avenues of investigation have been exhausted.” Alfano, 838 F.2d at 163;

see also Lambert, 771 F.2d at 91 (stating that 18 U.S.C. § 2518(1)(c) and (3)(c) “do not require that

the police officials exhaust every conceivable non-wiretap investigative technique,” and explaining

that “[a]ll that is required is that the investigators give serious consideration to the non-wiretap

techniques prior to applying for wiretap authority”).

               Whether an application satisfies § 2518(1)(c) must be determined “‘in a practical and

common sense fashion.’” United States v. Rice, 478 F.3d 704, 717 (6th Cir. 2007) (quoting United

States v. Landmesser, 553 F.2d 17, 20 (6th Cir. 1977), cert. denied, 434 U.S. 855 (1977). An

application supported by “a purely conclusory affidavit unrelated to the instant case and not showing

any factual relations to the circumstances at hand” would not comply with the statute. Landmesser,

553 F.2d at 20. But the mere fact that an application’s supporting affidavit rests in part on general

statements of the affiant’s prior experience with various non-wiretap investigative procedures does

not render the application insufficient. See id. (stating that “the prior experience of investigative

officers is indeed relevant in determining whether other investigative procedures are unlikely to

succeed if tried”). Suppression is the appropriate remedy in cases where fruits of evidence are

obtained through a warrant application not meeting the necessity requirement, in violation of Title

III. Rice, 478 F.3d at 709 (citing Giordano, 416 U.S. at 524-45).

               In this case, the Defendants make two overlapping arguments related to the wiretaps

procured by the Government. The Defendants’ procedural argument, requesting that the Court allow

an evidentiary hearing to allow evidence outside of that which is included in the two affidavits to be

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considered as to whether the Government’s applications met the necessity requirement of §

2518(1)(c), will be addressed first. Second, the Court will turn to the Defendants’ substantive

argument that the wiretap applications did not meet the necessity requirement in this case and that

their products should thus be suppressed.



                               (A) Request for an Evidentiary Hearing

                At the May 13, 2011 hearing, the Defendants sought to introduce the testimony of

Agent Poston for consideration related to their argument about the necessity of the wiretaps procured

by the Government in this case. The Defendants argued that the Court should consider testimony

from Agent Poston about what traditional techniques the agents investigating their case had

employed prior to the Government’s applications to intercept calls, and about the evidence produced

by those techniques. The Defendants contended that the Court’s review of the wiretap authorization

should not be limited to the four corners of the affidavit and argued that the only real way for the

Court to determine if the necessity requirement of § 2518(1)(c) was met in this case is for it to hear

what evidence the Government had at the point at which it applied for the wiretap orders.

                The Government responded at the hearing that the affidavits of Agent Poston were

all that the district judge had in front of him when he found the applications sufficient to issue orders

authorizing wiretaps in this case. The Government further argued that allowing evidence outside of

that contained within the affidavits to be considered by this Court would essentially amount to the

Court making its own decision as to whether wiretaps should have been authorized in this case, the

determination of which was already made by the district judge, rather than appropriately reviewing

the issuing court’s decision. The Government asserted that the District Court here was not presented

with the testimony of Agent Poston and contended that the District Court already found, on the basis

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of the affidavits alone, that the wiretaps authorized here would help reveal the full scope of the

conspiracy and were necessary as such.

                At the May 13 hearing, the parties discussed Rice, 478 F.3d 704. In Rice, the Sixth

Circuit held that the district court did not err when it suppressed the fruits of a Title III wiretap. Id.

at 706.    The affidavit upon which the wiretap application was based listed the alternative

investigative procedures, which had been utilized up until the point at which the application was

made, and it summarized them as having produced “‘minimal results.’” Id. at 707. The district court

in Rice found that the statements made in the affidavit discussing the dangerousness of physical

surveillance of the targets of the investigation in that case in fact indicated to an issuing judge that

the agents in that case had already conducted physical surveillance and had information specific to

the defendant that he carried firearms and was violent. Id. In fact, the agent who issued the affidavit

testified at the suppression hearing4 to the effect that no physical surveillance had been conducted,

and the agents had no specific information related to the defendant and firearms. Id. The district

court thus held that the statements related to physical surveillance included in the affidavit were

misleading and recklessly made. Id. at 708-09.




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         The Defendants cited Rice at the May 13, 2011 motion hearing in this case in part to support
their argument that an evidentiary hearing, at which Agent Poston should testify, must be held. This
argument was made because the affiant agent in Rice testified at the suppression hearing and
answered questions related to his investigation of the case prior to making the affidavit submitted as
the wiretap application in that case. The Sixth Circuit opinion in Rice, however, does not discuss
any issues related to whether the agent’s testimony on those matters should have been allowed or
required or even indicate that either party challenged the fact that he was testifying. Thus, while
Rice stands as an example that such evidence outside of the four corners of the affidavit has been
considered by district courts in the Sixth Circuit, the Court finds that Rice provides no framework for
analyzing whether and when evidentiary hearings as to necessity of wiretaps should or may be held.
Further Rice, unlike this case, was a case where there were allegations of misleading or improper
statements in the affidavit.

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                Further, the district court in Rice found that the confidential source discussed in the

affidavit had no information specifically pertaining to the defendant and that the information

included in the affidavit from both the confidential source and regarding pen registers and telephone

tolls was generalized and generic as to the way drug trafficking operations normally conduct

themselves. Id. at 708. In sum, the district court found that the government had used the wiretap

as the first step in its investigation of the defendant and that the affidavit did not indicate that the

government had seriously considered other investigative techniques to be used against the specific

defendant. Id. The Sixth Circuit in Rice found that the district court had not committed clear error

in finding that the statements regarding physical surveillance were made recklessly. As to the

necessity requirement, the district court reformed the affidavit by removing the recklessly made

statements after determining that it could not consider the misleading information in deciding

whether the requirement was met. The Sixth Circuit held that the district court did not err in finding

that what was left in the affidavit amounted mainly to insufficient, “generalized and uncorroborated

information,” and that the affidavit did not “prove ‘a full and complete statement as to whether or

not other investigative procedures have been tried and failed or why they reasonably appear to be

unlikely to succeed if tried or to be too dangerous.’” Id. at 711 (quoting United States v. Stewart, 306

F.3d 295, 304 (6th Cir. 2002), cert. denied, 537 U.S. 1138 (2003)). Lastly, the Sixth Circuit affirmed

the district court’s ruling that the good faith exception under United States v. Leon, 468 U.S. 897

(1984), does not apply to Title III wiretap warrants issued improperly. Id. at 713-14.

                The parties also cited Stewart, 306 F.3d at 304, analogizing this situation to one in

which a hearing to determine the sufficiency of the evidence establishing probable cause for the

issuance of a traditional search warrant is held pursuant to Franks v. Delaware, 438 U.S. 391 (1978).

In Stewart, also dealing with a drug conspiracy, the defendants moved to suppress the evidence

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produced by a wiretap and also requested an evidentiary hearing related to the wiretap. 306 F.3d at

303-04. Similar to the arguments made by the Defendants in this case, after the denial of their

motions to suppress, the Stewart defendants argued on appeal that “the affidavit used to obtain the

wiretap warrant did not satisfy the requirements of 18 U.S.C. § 2518(1)(c) and, further, that they

were improperly denied an evidentiary hearing on this matter in violation of Franks, because some

of the statements in the affidavit were either knowingly false or made with reckless disregard as to

their veracity.” Id. (citation omitted).

                Discussing Franks, the Sixth Circuit in Stewart explains:

                the Supreme Court recognizes a defendant’s right to challenge the
                sufficiency of a previously issued and executed warrant by attacking
                the statements made in an affidavit in support of the warrant. In order
                to obtain a hearing, the defendant must make a substantial
                preliminary showing that a false statement knowingly and
                intentionally, or with reckless disregard for the truth, was included in
                the affidavit. If the allegedly false statement is necessary to the
                finding of probable cause, the Fourth Amendment requires that a
                hearing be held at the defendant’s request. The defendant must
                specifically point to the disputed portions of the challenged affidavit,
                and must support these charges with an offer of proof. If the
                defendant meets this burden, the court must then reconsider the
                affidavit without the disputed portions and determine whether
                probable cause still exists. If probable cause does not exist, the court
                must hold a full evidentiary hearing to determine whether the
                affidavit was properly submitted.

Id. at 304-05 (citations omitted). Accordingly, the Sixth Circuit in Stewart determined that the

district court’s denial of a Franks evidentiary hearing was proper because the defendants “merely

argued that electronic surveillance was not necessary under the circumstances because other law

enforcement techniques were successful . . . ,” and the defendants did not present any affidavits on

their behalf to attempt to prove that the affidavits which served as the basis for the wiretap

applications were in any way false. Id. at 305.


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               Much like the Defendants in Stewart, the Defendants in this case wish this Court to

hold a Franks-like hearing but do not argue within the Franks framework. At the May 13 hearing,

the Defendants expressly stated that they made no allegations nor had any evidence to support an

argument, that any statements included in Agent Poston’s affidavits were made with reckless

disregard for the truth, were false, or were even misleading. The Defendants in this case request an

evidentiary hearing with testimony about the investigative techniques and their products in this case

strictly because they argue that the Court should consider this evidence outside of the contents of the

affidavits in making a fully informed determination as to whether the affidavits included “full and

complete statement[s] as to whether or not other investigative procedures have been tried and failed

or why they reasonably appear to be unlikely to succeed if tried or to be too dangerous.” See 18

U.S.C. § 2518(1)(c).

               The Court declines to allow such a hearing at this time. The Court finds that the

district judge, in this case District Judge Thomas W. Phillips, was in the best position to review the

totality of the circumstances as they appeared at the time and that his determination is thus entitled

to great deference by this Court. See Alfano, 838 F.2d at 162. Accordingly, like the Sixth Circuit

did in Stewart, the Court finds that it should consider only the statements and information contained

within the four corners of the October 20 and November 5 affidavits, as those documents were all

that was before the district judge when he made his determination to authorize the wiretaps in this

case.

               As a final matter on the Defendants’ request for an evidentiary hearing, the Court

notes a distinction between alleging that a wiretap was issued based on false or misleading

statements and requesting a Franks-like hearing to establish such, and a party conceding that it has

no evidence and makes no allegations of falsity or misleading statements but wants to delve into the

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facts and details of an investigation before trial, merely to determine if they are sufficient. In cases

like the latter, as the Court faces here, three primary problems arise. First, the Defendants’ request

appears to be an effort to discover the Government’s case, beyond that which is allowed by the rules

governing discovery, through an opportunity to explore with Agent Poston the entire breadth and

details of law enforcement’s investigation of the Defendants, under the guise of having the Court

determine anew if the requirements for issuing a wiretap were met. This is impermissible. Second,

the Defendants’ request requires de novo review of the district court’s findings. This, too, would

be improper if the request for an evidentiary hearing was granted. If the Court held the requested

hearing, the de novo review would take place after a contested hearing with cross-examination of

Agent Poston, which would not replicate the evidence which was before the district court when it

determined the wiretap was proper, and would put before the Court more evidence than 18 U.S.C.

§ 2518(1)(c) requires. Lastly, the Court granting the Defendants’ request here would require the

Court to grant requests for evidentiary hearings in all wiretap challenges and to allow all defendants

to explore and discover the entirety of law enforcement’s investigations without any preliminary

showing that the wiretaps procured by the government were insufficient or were based on affidavits

including false or misleading statements. For all of these reasons, the Court finds that an evidentiary

hearing in circumstances such as those in this case would be improper.



                                       (B) Necessity of Wiretap

                The Defendants in this case do not contend that probable cause for the issuance of

an order to intercept wire communications did not exist here. Instead, the Defendants argue that the

affidavits upon which the wiretap applications were based in this case failed to meet the necessity

requirement of § 2518(1)(c). As stated above, an affidavit in support of an application for

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authorization to intercept communications requires both “a full and complete statement of the facts

and circumstances relied upon by the applicant, to justify his belief that an order should be issued,”

and “a full and complete statement as to whether or not other investigative procedures have been

tried and failed or why they reasonably appear to be unlikely to succeed if tried or to be too

dangerous.” 18 U.S.C. § 2518(1)(b)-(c). The affidavit must instruct the issuing court why law

enforcement believes that other traditional investigate techniques, which need not include every

imaginable investigative method, “have been or will likely be inadequate.” Lambert, 771 F.2d at 91;

see also Alfano, 838 F.2d at 163.

               At the May 13, 2011 motion hearing in this case, the Defendants asserted that none

of the investigative techniques utilized by the Government had failed to succeed at the time of the

wiretap applications and that the interception of communications was thus unnecessary. In Stewart,

discussed more fully above, the Sixth Circuit found that, “[i]n endeavoring to secure a wiretap

warrant, the government need not prove the impossibility of other means of obtaining information.”

306 F.3d at 305. In that case, the law enforcement officer’s affidavit was over 100 pages long, and

it detailed the previously utilized investigative techniques of confidential informants, cooperating

witnesses, consensual recordings, physical surveillance, telephone recordings, and controlled drug

purchases. Id. Rather than finding that the detail and extent of the already three-year-long

investigation detailed in the agent’s affidavit showed the lack of necessity of a wiretap in that case,

the district court and Sixth Circuit found that these details showed that law enforcement had given

the “serious consideration” to other non-wiretap investigative techniques required in these cases, and

that the government in that case could not have discovered the whole scope of the drug conspiracy

in a “relatively safe manner,” had it not obtained the wiretaps. Id. at 305-06.



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                Moreover, “the mere fact that some investigative techniques were successful in

uncovering evidence of wrongdoing does not mandate that a court negate the need for wiretap

surveillance.” Id. at 305. Wiretaps are “particularly appropriate” in situations like the investigation

of drug trafficking organizations in both Stewart and the instant case, where conspirators typically

rely on telephones to conduct their criminal enterprise. Id. at 305-06. Additionally in Stewart, in

affirming the district court’s denial of the defendants’ suppression motions, the Sixth Circuit noted

that the defendants had not put forth any evidence to rebut the government’s claim that utilizing

traditional investigative techniques would have been dangerous to law enforcement personnel. Id.

at 306.

                In this case, the affidavits provided to the district judge as the basis for wiretap

applications on October 20, 2010 and November 5, 2010 were sufficiently detailed and included both

more generalized statements about drug trafficking organizations made based on the training and

experience of Agent Poston and specifics about the investigation of the Defendants’ alleged drug

conspiracy. The affidavits each explain the affiant’s view as to the need for the interception, the

evidence expected to be obtained through the use of the wiretaps, and the alterative investigative

techniques utilized and/or considered, along with the reasons why each had been or would be

inadequate in this case. The mere fact that the investigators in this case had already attained some

level of understanding as to the workings of the target organization did not preclude them from

seeking and successfully obtaining the authorization for wiretaps. As in Stewart, the level of detail

and amount of evidence related to the instant case provided in the affidavits shows more that the

officers had give serious consideration to other investigative techniques and that they were not

attempting to use the wiretaps as the initial step in their investigation, as is prohibited. See Lambert,

771 F.2d at 91; see also Giordano, 416 U.S. at 515.

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                Specifically in this case, the secluded and tight-knit nature of the community in which

the suspects resided and allegedly conducted many of the activities related to their organization,

together with the fact that the members of the organization each were related to or a longstanding

associate of Defendant Kevin Trent Bussell, as described in the affidavits, made many of the

alternative investigative techniques, such as discarded trash inspection, physical surveillance, and

infiltration of undercover officers, dangerous, difficult, or impossible. Additionally, the affidavits

indicated, and the Court finds, that the agents investigating this case would have been unable to

discover the full scope of the alleged conspiracy, including its members and instrumentalities,

without the wiretaps of Defendant Kevin Trent Bussell’s home and cellular telephones, which were

authorized by the district judge. While the Defendants claim that the utilization of two cooperating

individuals and the completion of several controlled drug purchases show the lack of necessity of

the wiretaps, the affidavits make clear that the confidential informants in this case had limited access

to the information about the full scope of the conspiracy and the involvement of other individuals

sought by law enforcement to establish sufficient evidence for a successful prosecution in this case.

                After reviewing the contents within the four corners of both the October 20, 2010 and

November 5, 2010 affidavits of Agent Poston provided to the district judge, the Court finds that each

of the affidavits provided as the basis for applications to intercept communications contain “a full

and complete statement as to whether or not other investigative procedures have been tried and failed

or why they reasonably appear to be unlikely to succeed if tried or to be too dangerous,” as needed

under the necessity requirement of § 2518(c). Each affidavit discusses many other investigative

procedures and explains whether they had been attempted in this case up to that point and the reasons

why they would be inadequate, or why the techniques would be dangerous for law enforcement or

cooperating witnesses, as applied specifically to this case. Accordingly, the Court finds that the

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necessity requirement of § 2518(c) was met in this case and recommends that the Defendants’

motion to suppress the intercepted communications in which they participated be denied.



                                        IV. CONCLUSION

               After carefully considering the evidence, the parties’ filings and arguments, and the

relevant legal authorities, the Court finds no basis to suppress the intercepted communications in this

case. For the reasons set forth herein, it is RECOMMENDED that Defendant Leonard Bussell’s

Motion to Suppress All Intercepted Communications Wherein Leonard Bussell Is a Participant in

the Communication [Doc. 171], as adopted by Defendant Kevin Trent Bussell and Defendant

Geneva Bussell [Doc. 343], be DENIED.5

                                                       Respectfully submitted,


                                                         s/ C. Clifford Shirley, Jr.
                                                       United States Magistrate Judge




       5
         Any objections to this report and recommendation must be served and filed within
fourteen (14) days after service of a copy of this recommended disposition on the objecting party.
Fed. R. Crim. P. 59(b)(2) (as amended). Failure to file objections within the time specified
waives the right to review by the District Court. Fed. R. Crim. P. 59(b)(2); see United States v.
Branch, 537 F.3d 582, 587 (6th. Cir. 2008); see also Thomas v. Arn, 474 U.S. 140, 155 (1985)
(providing that failure to file objections in compliance with the required time period waives the
right to appeal the District Court’s order). The District Court need not provide de novo review
where objections to this report and recommendation are frivolous, conclusive, or general. Mira
v. Marshall, 806 F.2d 636, 637 (6th Cir. 1986). Only specific objections are reserved for
appellate review. Smith v. Detroit Federation of Teachers, 829 F.2d 1370, 1373 (6th Cir. 1987).

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